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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                        IN THE UNITED STATES DISTRICT COURT                                October 22, 2019
                        FOR THE SOUTHERN DISTRICT OF TEXAS                                David J. Bradley, Clerk
                                  HOUSTON DIVISION

MARANDA LYNN ODONNELL, et al.,                    §
on behalf of themselves and all others            §
similarly situated,                               §
                                                  §
                       Plaintiffs,                §
                                                  §
VS.                                               §            CIVIL ACTION NO. H-16-1414
                                                  §
HARRIS COUNTY, TEXAS, et al.,                     §
                                                  §
                       Defendants.                §

                                              ORDER

       As stated in the October 14, 2019, Order, (Docket Entry No. 662), the court wants to ensure

a fair and full opportunity for the different views on the proposed settlement to be heard at the final

fairness hearing on October 28, 2019. This Order sets out the hearing procedures.

       The significant number of nonparties who have filed statements of intent to speak at the

hearing, the fact that many have already filed long amicus briefs, and the similar nature of the

interests represented, means that each nonparty speaker will be limited to 10 minutes. The parties

will have equal time to respond to each nonparty’s statement.

       Any nonparty person or entity that previously filed an amicus brief may not repeat any

arguments raised in the brief.

       Nonparties who speak will not do so under oath, and they will not be subject to cross-

examination. Nonparties may not cross-examine any witnesses called by the parties. The parties’

witnesses will testify under oath from the witness stand.

       If the proceedings do not end by 2:30 p.m. on October 28, the court will resume at 8:30

a.m. on Wednesday, October 30, 2019.
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        The following nonparty individuals or entities may speak at the October 28 final fairness

hearing:

       Harris County District Attorney Kim Ogg. (Docket Entry No. 665).

       One representative for the Texas Advocates for Justice. (Docket Entry No. 666).

       Mr. Andy Kahan, for Crime Stoppers of Houston. (Docket Entry No. 668).

       Attorney Kevin Pennell, for the Professional Bondsmen of Harris County. (Docket Entry
        No. 670).

       Attorney Ken Good, for Mr. Gilbert Morales. (Docket Entry No. 671).

       Ms. Mary Nan Huffman, for the Houston Police Officers’ Union. (Docket Entry No. 672).

       Mr. Doug Smith. (Docket Entry No. 673).

       Harris County Commissioner Steve Radack. (Docket Entry No. 676).

       Mr. John Gamage, for Restoring Justice. (Docket Entry No. 678).

       Mr. Tony Smith or Attorney Alan N. Magenheim, for Equal Justice Now. (Docket Entry
        No. 680).

       Mr. Kaleb J. Taylor. (Docket Entry No. 684).

       Ms. Koretta Brown, for The Young and the Politics. (Docket Entry No. 685).

       Mr. Ashton Woods, for Black Lives Matter Houston. (Docket Entry No. 686).

       Mr. Carl Davis, for the Houston Society for Change and the Social Action Commission
        General Board of the AME Church. (Docket Entry No. 687).

       Mr. John McNamee, for Mothers Against Drunk Driving. (Docket Entry No. 688).

       Special Litigation Counsel Adam Biggs, for the Office of the Attorney General of Texas.
        (Docket Entry No. 689).

        The October 14 Order stated that no more than one individual may speak for any nonparty

entity or category of entity. (Docket Entry No. 662 at 2). On October 18, individuals affiliated

with the Texas Advocates for Justice filed a joint notice that each individual intended to appear.

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(Docket Entry No. 666). As stated in the October 14 Order, nonparty entities, including the Texas

Advocates for Justice, must select a single representative to speak at the hearing. (Docket Entry

No. 662 at 2). On October 21, several of the individuals affiliated with the Texas Advocates for

Justice filed individual notices of intent to appear. (Docket Entry Nos. 677, 679, 681). Only one

representative may do so.

        The Houston Area Police Chiefs Association, the Houston Police Officers’ Union, and the

Harris County Deputies’ Organization, Fraternal Order of Police Lodge #39, may not all appear

because all three represent law enforcement or police officers and share similar concerns. (Docket

Entry Nos. 667, 672, 682). The court will hear from the Houston Police Officers’ Union, and not

the Chiefs Association or the Deputies’ Organization, because the latter two groups previously

filed amicus briefs, (Docket Entry Nos. 629, 646), and the Houston Police Officers’ Union has not

done so.

                      SIGNED on October 22, 2019, at Houston, Texas.


                                             _______________________________________
                                                                Lee H. Rosenthal
                                                         Chief United States District Judge




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